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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                  :
 KEVIN RAZZOLI,                                                   :
                                              Plaintiff,          :
                                                                  :        16 Civ. 7136 (LGS)
                            -against-                             :
                                                                  :              ORDER
                                                                  :
 CITY OF NEW YORK, et al.,                                        :
                                              Defendant.          :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on January 11, 2021, pro se Plaintiff filed a letter seeking default judgment against

the City of New York and alleging that Zoe Salzman’s representation of “Hunts Point Market” and its

board members creates a conflict of interest. Dkt. No. 145.

        WHEREAS, this case is stayed pending resolution of Plaintiff’s underlying criminal case (the

“Stay”). Dkt. No. 20.

        WHEREAS, on August 22, 2017, the Court entered an Order of Reference to a Magistrate Judge,

referring general pre-trial supervision to Judge James L. Cott (the “Order of Reference”). Dkt. No. 37;

see also 28 U.S.C. § 636(b)(1)(A) (providing that “a judge may designate a magistrate judge to hear and

determine any pretrial matter pending before the court,” with the exception of certain dispositive

motions). It is hereby

        ORDERED that Defendant’s application for default judgment against the City of New York is

DENIED without prejudice to renewal pending the lifting of the Stay. It is further

        ORDERED that Defendant’s application regarding an alleged conflict of interest falls within the

Order of Reference to Judge Cott. It is further

        ORDERED that, by January 19, 2021, Defendants shall transmit a copy of this Order to pro se

Plaintiff and file proof of service.

Dated: January 12, 2021
       New York, New York
